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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG * MDL NO. 2179
"DEEPWATER HORIZON" in the *
GULF OF MEXICO, on * SECTION J
APRIL 20, 2010 *
* JUDGE BARBIER
APPLIES TO: No. 12-311 : MAG. JUDGE SHUSHAN

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LIBERTY INSURANCE UNDERWRITERS, INC.’S

RESPONSES TO PLAINTIFF CAMERON INTERNATIONAL
CORPORATION’S FIRST SET OF REQUESTS FOR ADMISSION

Defendant Liberty Insurance Underwriters, Inc. (“Liberty”) responds to Plaintiff

Cameron International Corporation’s First Set of Requests for Admission.
GENERAL OBJECTIONS

1. Liberty objects to plaintiff's First Set of Requests for Admission to the extent they
seek information protected by the attorney-client privilege, work-product doctrine, and/or any
other privilege or protection recognized by law. Any inadvertent production of information
subject to privilege or protection does not constitute a waiver by Liberty of that privilege or
protection.

2. Liberty objects to plaintiff's First Set of Requests for Admission to the extent they
seek information that is confidential, proprietary, and/or that constitutes trade secrets. Any
inadvertent production of information subject to privilege or protection does not constitute a

waiver by Liberty of that privilege or protection.

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3. Liberty objects to plaintiff's First Set of Requests for Admission to the extent they
seek information or documents not within Liberty’s possession, custody, or control.

4. Liberty objects to plaintiffs First Set of Requests for Admission to the extent they
seek information neither relevant to the issues posed by the pleadings nor reasonably calculated
to lead to the discovery of admissible evidence.

5. Liberty objects to plaintiffs First Set of Requests for Admission, including
without limitation the Definitions and Instructions, to the extent they seek to impose obligations
and/or discover information beyond the scope of discovery permitted by the Federal Rules of
Civil Procedure.

6. Liberty objects to the definition of “You”, “Your”, and “Liberty” contained in
Cameron’s First Set of Requests for Admission. The stated definitions are overbroad and exceed
the scope of discovery permitted by the Federal Rules of Civil Procedure. Moreover, the
definitions improperly may include attorneys representing Liberty who are not Liberty and not
within Liberty’s control. Finally, the definition improperly includes persons and entities other
than the named defendant, Liberty Insurance Underwriters, Inc., including without limitation
Liberty’s “parents, subsidiaries, affiliates, predecessors and successors in interest, and any of its
officers, directors, partners, employees, and agents.”

7, Liberty objects to the definition of “Cameron Policies” contained in Cameron’s
First Set of Requests for Admission. The stated definition is overbroad and exceeds the scope of

discovery permitted by the Federal Rules of Civil Procedure. “Cameron Policies” properly

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should include only policies issued to Cameron by Liberty Insurance Underwriters, Inc. from
January 2010 through the present.

8. Liberty objects to the extent that Cameron’s First Set of Requests for Admission
defines the relevant time period as 2006 to present. This time period is overbroad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence. The
relevant time period properly should be limited to January 1, 2010 to the date this suit was filed.

9. Any representation made by Liberty that it will provide or make available
responsive information is not meant to imply that such requested information or documents
actually exist, but merely that the requested information or documents will be produced to the
extent known or available.

10. Liberty reserves the right to supplement, amend, or alter its responses at any time.

11. Liberty reserves the right to challenge the admissibility of the documents herein

produced at trial or at any hearing in this matter or any other matter.

RESPONSES TO
PLAINTIFF’S REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1: Admit that, on or about April 23, 2010, Cameron gave
Liberty notice that it had incurred potential liability arising from the Deepwater Horizon Incident
that could result in a “loss” under the Liberty Policy.

RESPONSE TO REQUEST FOR ADMISSION NO. 1:
Admit.

REQUEST FOR ADMISSION NO. 2: Admit that Liberty, through its counsel, stated that
Cameron should offer to settle its disputes with BP related to the Deepwater Horizon Incident for
$10 million or less.
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RESPONSE TO REQUEST FOR ADMISSION NO. 2:
Denied.

REQUEST FOR ADMISSION _NO. 3: Admit that Liberty, through its counsel, stated that
Liberty did not object to the $250 million settlement amount of the BP Settlement

RESPONSE TO REQUEST FOR ADMISSION NO. 3:

Denied. Liberty, through its counsel, advised that Liberty objected to the non-monetary
aspects of the settlement and wasn’t in a position to object to the amount of the settlement.

REQUEST FOR ADMISSION NO. 4: Admit that Cameron responded to all requests for
information from Liberty in its investigation into Cameron’s potential exposure arising from the
Deepwater Horizon incident.

RESPONSE TO REQUEST FOR ADMISSION NO. 4:
Denied.

REQUEST FOR ADMISSION NO. 5: Admit that, prior to November 7, 2011, Liberty had
concluded that attachment could be an issue, given Cameron’s outstanding indemnity claim
against Transocean.

RESPONSE TO REQUEST FOR ADMISSION NO. 5:

Denied. See Response to Interrogatory No. 13.

REQUEST FOR ADMISSION NO. 6: Admit that, prior to November 7, 2011 Liberty did not
communicate to Cameron the position that the Liberty Policy’s “Other Insurance” provision
meant that Liberty did not have to pay Cameron’s claim in connection with the Deepwater
Horizon Incident until after Transocean fulfilled its purported indemnity obligations to Cameron.

RESPONSE TO REQUEST FOR ADMISSION NO, 6:

Denied. As stated in response to Interrogatory No. 15, “By November, 2011, Liberty had
realized that attachment could be an issue, given Cameron’s outstanding indemnity claim against
Transocean, which was the subject of Cameron’s Motion For Summary Judgment which had not
been resolved”. Also see response to Interrogatory No. 13.

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REQUEST FOR ADMISSION NO. 7: Admit that, prior to November 7, 2011, Liberty did not
communicate to Cameron the position that the Liberty Policy’s “Other Insurance” provision was
a potential basis to refuse to pay Cameron’s claim in connection with the Deepwater Horizon
Incident.

RESPONSE TO REQUEST FOR ADMISSION NO. 7:

Admitted. See Response to Interrogatory No. 15.

REQUEST FOR ADMISSION NO, 8: Admit that Liberty proposed to pay $8.3 million on
December 15, 2011 for Cameron’s claim in connection with the Deepwater Horizon Incident,

instead of the $50 million in coverage limits of the Liberty Policy

RESPONSE TO REQUEST FOR ADMISSION NO. 8:

Denied. Liberty offered to pay $8.3 million to settle a coverage dispute.

REQUEST FOR ADMISSION NO. 9: Admit that, prior to December 15, 2011, Liberty had
denied that it owed any obligation to pay Cameron’s claim in connection with the Deepwater

Horizon Incident.

RESPONSE TO REQUEST FOR ADMISSION NO. 9:

Denied.

REQUEST FOR ADMISSION NO. 10: Admit that Liberty is not a party to the BP Settlement.

RESPONSE TO REQUEST FOR ADMISSION NO. 10:
Admit.

REQUEST FOR ADMISSION NO. 11: Admit that the document attached as Exhibit 1 to
these Requests for Admission is a true and correct copy of a letter sent from Paul R. Koepff to
Brad Eastman dated November 7, 2011.

RESPONSE TO REQUEST FOR ADMISSION NO. 11:
Admit.

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REQUEST FOR ADMISSION NO. 12: Admit that the document attached as Exhibit 2 to
these Requests for Admission is a true and correct copy of a letter sent from Paul R. Koepff to
Mitchell J. Auslander dated December 13, 2011.

RESPONSE TO REQUEST FOR ADMISSION NO. 12:
Admit.

REQUEST FOR ADMISSION NO. 13: Admit that the document attached as Exhibit 3 to
these Requests for Admission is a true and correct copy of a letter sent from Paul R. Koepff to
Mitchell J. Auslander dated December 14, 2011.

RESPONSE TO REQUEST FOR ADMISSION NO. 13:
Admit.

REQUEST FOR ADMISSION NO. 14: Admit that the document attached as Exhibit 4 to
these Requests for Admission is a true and correct copy of a letter sent from Richard W. Bryan to
Paul R. Koepff dated December 14, 2011.

RESPONSE TO REQUEST FOR ADMISSION NO. 14:
Admit.

REQUEST FOR ADMISSION NO. 15: Admit that Liberty was aware as of December 15,
2011 that Transocean had not acknowledged it owed indemnity to Cameron for Blowout
Liability in connection with the Deepwater Horizon Incident.

RESPONSE TO REQUEST FOR ADMISSION NO. 15:
Admit.

REQUEST FOR ADMISSION NO. 16: Admit that Liberty was aware as of December 15,
2011 that Transocean had refused to pay Cameron any indemnity for Blowout Liability in
connection with the Deepwater Horizon Incident.

RESPONSE TO REQUEST FOR ADMISSION NO. 16:
Admit.

REQUEST FOR ADMISSION NO. 17: Admit that Liberty was aware as of December 15,
2011 that Transocean had sued Cameron seeking a declaration that it did not owe Cameron any
indemnity for Blowout Liability in connection with the Deepwater Horizon Incident.

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RESPONSE TO REQUEST FOR ADMISSION NO. 17:
Admit.

REQUEST FOR ADMISSION _NO._18: Admit that Liberty never provided notice to
Transocean that Liberty might have a potential subrogation claim against Transocean under the
Liberty Policy.

RESPONSE TO REQUEST FOR ADMISSION NO. 18:
Admit.
REQUEST FOR ADMISSION NO. 19: Admit that Liberty has never paid any money to

Cameron pursuant to the Liberty Policy in connection with Cameron’s claim for coverage
relating to the Deepwater Horizon Incident.

RESPONSE TO REQUEST FOR ADMISSION NO. 19:
Admit.

REQUEST FOR ADMISSION NO. 20: Admit that the language of the “Other Insurance”
provision in the Liberty Policy is identical to the language of the “Other Insurance” provision in
Liberty’s policy form 0101-XS(03 00).

RESPONSE TO REQUEST FOR ADMISSION NO. 20:
Admit.
REQUEST FOR ADMISSION NO. 21: Admit that Liberty did not know as of December 15,

2011 whether Transocean would indemnify Cameron for Blowout Liability in connection with
the Deepwater Horizon Incident.

RESPONSE TO REQUEST FOR ADMISSION NO. 21:
Admit.

REQUEST FOR ADMISSION NO. 22: Admit that on December 12, 2011, Liberty was told
that Cameron and BP had reached a tentative settlement agreement that was subject to approval
by Cameron’s board and Cameron’s insurers’ consent.

RESPONSE TO REQUEST FOR ADMISSION NO. 22:

Admit.

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Respectfully submitted,

LZ

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CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing document was served on all counsel of

record by U.S. mail, postage prepaid, hand delivery, facsimile transmission or email on this 8"

BE 1

Christopher W. Martin

day of April, 2013.

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